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                            UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF MASSACHUSETTS



    MARIA ALEJANDRA CELIMEN SAVINO,

    JULIO CESAR MEDEIROS NEVES, and all
                                                             Case No. 1:20-cv-10617 WGY
    those similarly situated,

                        Petitioners-Plaintiffs,

                  v.

    STEVEN J. SOUZA,

                       Respondent-Defendant.



                               ----------------- ORDER GRANTING FINAL
                              [PROPOSED]
                            APPROVAL OF CLASS ACTION SETTLEMENT

        WHEREAS, the above-captioned matter is pending before this Court as a certified class
                        1
                            );

        WHEREAS, the Parties made an application, pursuant to Federal Rule of Civil Procedure

23(e), for an order: (i) preliminarily approving the Settlement Agreement dated April 6, 2021,

which, together with the exhibits annexed thereto, sets forth the terms and conditions for the

settlement of the Action; (ii) approving the form of Class Notice, attached as Exhibit D to the

Settlement Agreement; and (iii) scheduling a date for the Fairness Hearing, pursuant to Federal

Rule of Civil Procedure 23(e), for the Court to consider and determine whether to approve the

terms of the Settlement Agreement as fair, reasonable, and adequate; and




1
 Capitalized terms not defined herein shall have the meaning ascribed to them in the Settlement Agreement. ECF
No. 398.
                                                       1
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       WHEREAS, this Court issued a Preliminary Approval Order, ECF No. 402; approved the

form of Class Notice, ECF No. 404; and held a Fairness Hearing on May 3, 2021; and

       WHEREAS, this Court has duly considered the arguments in favor of the Settlement

Agreement and any objection properly submitted in opposition to the Settlement Agreement;

       This Court hereby overrules any and all objections filed in opposition to the Settlement

Agreement and finds the Settlement Agreement, inclusive of all terms and conditions set out

therein, ECF No. 398, to be fair, reasonable, and adequate, because:

           1. Class Members were adequately represented by class representatives and



           2. The Settlement Agreement was the pr

           3. The Settlement Agreement provides Class Members with adequate relief; and

           4. The Settlement Agreement treats Class Members equitably.

       THEREFORE, the settlement of this Action pursuant to the terms and conditions of the

Settlement Agreement is hereby approved pursuant to Fed. R. Civ. P. 23(e) and shall be binding

on all parties to the Settlement Agreement: the Class Members, Defendant, and Immigration and

                                    e terms, conditions, and releases as set forth in the Settlement

Agreement are hereby effectuated.


               IT IS SO ORDERED.


        Dated:_______________
               May 13, 2021                                           /s/ William G. Young
                                                                     _____________________
                                                                     Hon. William G. Young
                                                                     United States District Judge




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